Case 1:04-cv-10981-PBS Document 18-3 Filed 01/04/05 Page 1 of 4

aa

Exhibit ©

° * Case 1:04-cv-10981-PBS Document 18-3 Filed 01/04/05 Page 2 of 4

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA ex
rel. DAVID FRANKLIN

Plaintiff,
v. No. 96-CV-11651-PRS

PARKE-DAVIS, DIVISION OF
WARNER+LAMBERT COMPANY,

Defendant.

me ee ee ee ee ee ee

DISCOVERY ORDER
February 6, 2002
Saris, U.S.D.d.

The Court rules on Relator's Motion for Reconsideration of
the Magistrate Judge's Order dated December 12, 2001, as follows:
1. The Amended Complaint alleges claims for the period
1994 through 1998. That is the time frame for

discovery.

2. The Amended Complaint alleges a nation-wide marketing
scheme. Therefore, all documents in the possession,
custody or control of Parke-Davis' headquarters
relating to marketing, publication, business
strategies, policies, initiatives, seminars, training,
consultants' meetings or the like relating to Neurontin

shall be produced, in addition to such documents from

cA

the Northeast Business Customer Unit. At least at this, i")

Case 1:04-cv-10981-PBS Document 18-3 Filed 01/04/05 Page 3 of 4

point, a request for all documents in the possession,
custody and control of each business or regional unit
in every state and for documents relating to 3200
doctors seems overbroad.

3. In light of the ongoing criminal investigation, the
Magistrate Judge's Order, § 1c, relating to the sharing
of documents with the United States Attorney, is not
clearly erroneous. However, the government is entitled
to copies of all pleadings and copies of ail deposition
transcripts. 31 U.S.C. § 3730(c) (3). If the
government decides to intervene, the parties may
revisit the issue.

4. The Court strikes the Magistrate Judge's Order, @ 1b,
requiring the Relator to procure confidentiality
agreements from state and federal officials when they
obtain certain prescription information. However, the
Court orders the Relator only to disclose "the
identities of doctors to whom Parke-Davis marketed and
the dates of their contacts" - as it has promised.

(See Docket No. 145, p.5).
5. Otherwise, the Magistrate Judge's Crder is affirmed as

not contrary to law or clearly erroneous. The parties

shall confer to narrow future disputes.

6. All responsive documents shall be produced forthwith.

e . Case 1:04-cv-10981-PBS Document 18-3 Filed 01/04/05 Page 4 of 4

Any documents which are not immediately available shall
be disclosed within 30 days.

7. The parties are sealing too many pleadings. Most of
the information contained in the pleadings is not even
arguably confidential. This Court must operate with a
presumption of openness. Therefore, all sealed
pleadings will be unsealed in 30 days unless a party
submits sufficient justification to maintain the
sealing at that time. From now on, no documents shall
be filed under seal without an accompanying written
justification. The parties should narrowly define what
is to be sealed. If, for instance, only the attachment

is confidential, only the attachment should be sealed.

ro
/

“PATTI B. SARIS
United States District Judge

